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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
Northern Division

UNITED S'I`ATES OF AMERICA.
Plaintiii`. Case No. l:lé-cv-OSIO

V.

J.A. SUBWAY. INC. and JAMIU LAWAL.

Defcndants.

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ORDER TO SHOW CAUSE

Upon the second motion of the United States and the Declarations of` Joycelyn S. Peyton
and Revenue Off`lcer Kinaberly Sauls, it is hereby

ORDERED that Defendant Jamiu Lawal shall appear before the Honorable George l..
Russell, in that Judge`s courtroom in the United States Courthouse, 101 West Lombard Street,
Baltimore. Maryland on the /-?/JH/ day ofw-€j , 2018. at

q il @-rn.. to show cause why Defendants should not he held in contempt for failure to

comply with the permanent injunction entered on September 23. 2016. Dkt. No. IS.

lt is Further ORDERED that:

l. lf Dei"endants have any defense to present or opposition to the motion._ such defense or
opposition shall be made in writing and filed with the Clerk and copies served on counsel t`or the
United States. at least [14] days prior to the date set for the show cause hearing The United
States may tile a reply memorandum to any opposition at least 5 days prior to the date set for the

show cause hearing

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2. At the show cause hearing only those issues brought into controversy by the responsive
pleadings and factual allegations supported by affidavit will be considered. Any uncontested
allegation in the motion will be considered admitted

3. Defendants are hereby notified that failure to comply with this Order may subject them to

sanctions for contempt ot`court.
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DONE and ORDERED at'__,..-¢E___'_,__'_"l- this Z?r
/¢7¢'?_}/ ,2018. /€,,.L¢.¢ C.,w/

 

l-lon. GEORGE L. RUSSELL._ IIl
United States District .ludge

